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 8                            UNITED STATES DISTRICT COURT
 9                          SOUTHERN DISTRICT OF CALIFORNIA
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11    Kevin G. Dougherty,                                Case No.: 16cv2909-JAH (BLM)
12                                      Plaintiff,
                                                         ORDER STAYING PROCEEDINGS
13    v.                                                 PENDING NINTH CIRCUIT
                                                         RULING
14
      Guild Mortgage Company,
15
                                      Defendant.
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18    United States of America,
19
                                      Intervenor.
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22          Presently before the Court are Guild Mortgage Company’s (“Defendant” or “Guild”)
23    Motions to Dismiss Kevin G. Dougherty’s (“Plaintiff” or “Relator”) Third Amended
24    Complaint (“TAC”) (Doc. No. 27) and United States of America’s (“Intervener” or “United
25    States”) Complaint in Intervention (“CII”) [Doc. No. 20] pursuant to Rule 12(b)(6) of the
26    Federal Rules of Civil Procedure. [Doc. Nos. 33, 34]. At this time, the Court sua sponte
27    stays the proceedings pending a ruling on Scott Rose v. Inst., 2016 WL 6393513 (N.D. Cal.
28    Oct. 28, 2016) by the Ninth Circuit.

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 1           “[A] District Court has broad discretion to stay proceedings as an incident to its
 2    power to control its own docket.” Clinton v. Jones, 520 U.S. 681, 706 (1997) (citing Landis
 3    v. N. Am. Co., 299 U.S. 248, 254 (1936)). In determining whether a stay is appropriate, a
 4    Court should consider: “(1) the possible damage which may result from the granting of a
 5    stay, (2) the hardship or inequity which a party may suffer in being required to go forward,
 6    and (3) the orderly course of justice measured in terms of the simplifying or complicating
 7    of issues, proof, and questions of law which could be expected to result from a stay.”
 8    Lockyer v. Mirant Corp., 398 F.3d 1098, 1110 (9th Cir.2005) (citing CMAX Inc. v. Hall,
 9    300 F.2d 265, 268 (9th Cir.1962)). In this case, a stay would avoid inconsistent rulings and
10    contribute to the interests of justice and efficiency. Specifically, this Court seeks
11    clarification as to the first question submitted to the Ninth Circuit on interlocutory appeal.1
12           Accordingly, IT IS HEREBY ORDERED that:
13                               1. The Court exercises its discretion and sua sponte stays the
14                                   proceedings until an opinion on Scott Rose, 2016 WL 6393513
15                                   is issued by the Ninth Circuit;
16                               2. The parties are ordered to jointly notify the Court within ten
17                                   (10) days of the Ninth Circuit’s decision.
18           IT IS SO ORDERED.
19    DATED: March 5, 2018
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21                                                          JOHN A. HOUSTON
                                                            United States District Judge
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        “Must the “two conditions” identified by the Supreme Court in Escobar always be satisfied for implied
      false certification liability under the FCA, or does Ebeid's test for implied false certification remain good
28    law?” Scott Rose v. Inst., 2016 WL 6393513, at *4 (N.D. Cal. Oct. 28, 2016).
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